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1    Steven J. Parsons
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5
     Attorneys for Plaintiff
6    CYNTHIA RICKS
7

8                                 UNITED STATES DISTRICT COURT
9                                       DISTRICT OF NEVADA
10   CYNTHIA RICKS, an individual,                     Case No. 2:20-cv-01359-KJD-(VCF)
11          Plaintiff,                                 THE PARTIES’ REVISED STIPULATION and
                                                       (PROPOSED) ORDER
12   vs.                                               OF DISMISSAL, WITH PREJUDICE
13 SUN LIFE ASSURANCE COMPANY OF
   CANADA, a foreign corporation, doing
14 business as SUN LIFE FINANCIAL,

15          Defendant.
                                               /
16

17          Plaintiff, CYNTHIA RICKS, by her counsel, Steven J. Parsons of LAW OFFICES OF STEVEN
18   J. PARSONS and Defendant, SUN LIFE ASSURANCE COMPANY OF CANADA, by its counsel,
19   Kristina N. Holmstrom of OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C. hereby stipulate that
20   ...
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1    this case be dismissed, with prejudice, as all claims between the parties have been settled.

2           Dated: November        , 2021.

3    LAW OFFICES OF STEVEN J. PARSONS              OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.

4    /s/ Steven J. Parsons                         /s/ Kristina Holmstrom
     STEVEN J. PARSONS                             KRISTINA HOLMSTROM
5    Nevada Bar No. 363                            Nevada Bar No. 10086

6    Attorney for Plaintiff                        Attorneys for Defendant
     CYNTHIA RICKS                                 SUN LIFE ASSURANCE COMPANY OF CANADA
7

8                                               ORDER

9           Upon the foregoing stipulation of the parties,

10          IT IS HEREBY ORDERED that this case is dismissed, with prejudice.

11          Dated: 11/18/2021           .

12
                                                U.S. DISTRICT
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